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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

 United States of America,                       Cr. No. 3:09-390-CMC

        v.
                                                                     Order
 Francisco Sanchez-Valencia,

               Defendant.


       This matter is before the court on Defendant’s motions for sentence reduction pursuant to

Amendments 821 and 782, for compassionate release, and for appointment of counsel. ECF Nos.

655, 657. Defendant has also filed a motion for ruling on his combined motions. ECF No. 658.

       Defendant’s first motion requests a sentence reduction based on Amendment 821 for zero-

point offenders, and asks the court to reevaluate his request for reduction under Amendment 782,

which the court previously denied. ECF No. 655 at 4-8. Regarding compassionate release, he

asserts a sentencing disparity. Defendant analyzes his motion under McCoy, although it was filed

November 20, 2023, after the new Policy Statement at § 1B1.13 took effect on November 1, 2023.

He contends his sentence would be lower if imposed today due to changes in the law regarding

methamphetamine purity. He sets forth his rehabilitative efforts, via education and programming,

and is remorseful.

       Defendant filed a second motion for application of Amendment 821. ECF No. 657. He

sets forth the safety valve amendment and asserts his sentence should be reduced based on several

amendments. He asserts his guideline range should be reduced from 240 months to a total offense

level of 35, which corresponds to a 168–210-month guideline range. Id. at 15.
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       The court will first address Defendant’s compassionate release motion, then turning to

Amendments 782 and 821.

           A. Section 3582(c)(1)(A) motions brought by Defendants

       The court, on motion of a defendant after 1) fully exhausting administrative rights to appeal

a failure of the Bureau of Prisons (“BOP”) to bring a motion on his behalf, or 2) the lapse of 30

days from receipt of such a request by the warden of the facility, whichever is earlier, may reduce

the term of imprisonment. 18 U.S.C. § 3582(c)(1)(A) (as amended by First Step Act).1 Section

3582(c)(1)(A)(i) allows a court to modify a term of imprisonment once it has been imposed for

extraordinary and compelling reasons if such a reduction is consistent with the applicable policy

statement issued by the Sentencing Commission.

       After amendment of § 3582(c)(1)(A) by the First Step Act but prior to November 2023,

there was not an applicable policy statement because the Sentencing Commission lacked a quorum

when § 3582(c)(1)(A) was amended by the First Step Act. While there was no relevant policy

statement, compassionate release motions in the Fourth Circuit were governed by United States v.

McCoy, 981 F.3d 271, 281 (4th Cir. 2020), and district courts were “‘empowered…to consider any

extraordinary and compelling reason for release that a defendant might raise.’” Id. at 284.

       However, the Commission has reestablished a quorum and in November 2023, updated the

Policy Statement at § 1B1.13 to include motions brought by defendants. Accordingly, the court

may now reduce a term of imprisonment if, after considering the factors set forth in 18 U.S.C. §

3553(a), it determines extraordinary and compelling reasons warrant a reduction, the defendant is



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  Defendant notes he filed a request with his Warden on October 2, 2023, and did not receive a
response. This request was attached. ECF No. 655-1. Accordingly, the court finds Defendant has
exhausted administrative remedies.
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not a danger to the safety of any other person or to the community, and the reduction is consistent

with the Policy Statement at § 1B1.13(b). The new Policy Statement also amended what can be

considered extraordinary and compelling reasons, including the following (in pertinent part):

            (b) (6) Unusually Long Sentence.— If a defendant received an unusually long sentence
            and has served at least 10 years of the term of imprisonment, a change in the law (other
            than an amendment to the Guidelines Manual that has not been made retroactive) may
            be considered in determining whether the defendant presents an extraordinary and
            compelling reason, but only where such change would produce a gross disparity
            between the sentence being served and the sentence likely to be imposed at the time
            the motion is filed, and after full consideration of the defendant’s individualized
            circumstances.

            (c) Limitations on Changes in Law. — Except as provided in subsection (b)(6), a
            change in the law (including an amendment to the Guidelines Manual that has not been
            made retroactive) shall not be considered for purposes of determining whether an
            extraordinary and compelling reason exists under this policy statement. However, if a
            defendant otherwise establishes that extraordinary and compelling reasons warrant a
            sentence reduction under this policy statement, a change in the law (including an
            amendment to the Guidelines Manual that has not been made retroactive) may be
            considered for purposes of determining the extent of any such reduction.

            (d) Rehabilitation of the Defendant. — Pursuant to 28 U.S.C. § 994(t), rehabilitation
            of the defendant is not, by itself, an extraordinary and compelling reason for purposes
            of this policy statement. However, rehabilitation of the defendant while serving the
            sentence may be considered in combination with other circumstances in determining
            whether and to what extent a reduction in the defendant’s term of imprisonment is
            warranted.

§ 1B1.13.
            B. Extraordinary and Compelling Reasons

                  i.   Unusually Long Sentence

       Defendant asserts there have been changes in the law regarding methamphetamine purity

that would affect his sentence and result in a disparity between it and the one he would receive if

sentenced today. He notes he was held liable for 2000 grams of “especially pure

methamphetamine,” with a base offense level of 38. However, if he had been held responsible for

2000 grams of a methamphetamine mixture, his base offense level would have been 32. He
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requests the court “reject the purity level distinction” and reduce his sentence because it is now

recognized that purity level does not correspond to culpability. ECF No. 655 at 14. Specifically,

because methamphetamine has increased in purity over the years, “everyone has access to a

substantially pure, uncut product.” Id. Defendant argues he was given “almost double sentence”

under the 10-1 weight disparity between actual methamphetamine and methamphetamine mixture,

and this constitutes an extraordinary and compelling reason for a sentence reduction. Id. at 18-19.

Finally, he asserts his mandatory minimum sentence was increased based on facts never charged

in the indictment or submitted to the jury, which is not allowed under Apprendi v. New Jersey, 530

U.S. 466 (2000) and Alleyne v. United States, 570 U.S. 99 (2013). Id. at 20.

       Defendant’s argument regarding methamphetamine, that his sentence should be reduced

based on purity, is not an extraordinary and compelling reason warranting a sentence reduction

under § 1B1.13. There has been no change in the Sentencing Guidelines or statutes for

methamphetamine purity that would lower Defendant’s guideline range. At most, the Fourth

Circuit has noted sentencing courts may consider policy decisions underlying the guidelines, such

as the 10-1 methamphetamine/ice disparity, but are under no obligation to do so. See United States

v. Williams, 19 F.4th 374, 378 (4th Cir. 2021), cert. denied, 140 S. Ct. 1392 (2022).2




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  Although Defendant asserts Apprendi and Alleyne apply to his case because his “mandatory
minimum sentence was increased based on facts that were never charged,” ECF No. 655 at 20, he
does not state what these facts were. Although he alleges his guideline offense level was increased
by the purity of the methamphetamine, his statutory range was not. To the extent he contends a
“determination of quantity” was not included in the Indictment, the court disagrees. The Third
Superseding Indictment charges a conspiracy involving 50 grams or more of methamphetamine, 5
kilograms or more of cocaine, and 500 grams or more of a mixture and substance containing a
detectable amount of methamphetamine. ECF No. 224 at 2. Defendant pled guilty to those levels.
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       Accordingly, Defendant has not raised an extraordinary and compelling reason justifying

a sentence reduction. However, in an abundance of caution, the court will proceed to evaluate the

§ 3553(a) factors.

           C. The § 3553(a) factors

                          i. Nature and Circumstances of the Offense

       Defendant, a Mexican national illegally in the United States, was involved in a conspiracy

to distribute 50 grams or more of methamphetamine and 5 kilograms or more of cocaine in the

Columbia area of South Carolina. During a search of his home, officers recovered a firearm, later

confirmed by witnesses to have been used and possessed in furtherance of drug trafficking. He

also conspired with others in the conspiracy to launder drug proceeds. He was held responsible for

9,026.83 grams of cocaine; 2,674.5 grams of crystal methamphetamine; and 18,400 grams of

marijuana. He was enhanced for an aggravated role in the offense after Defendant stipulated he

held a supervisory or managerial role in the drug trafficking conspiracy. He pled guilty to three

counts: conspiracy to distribute and distribution of 50 grams or more of methamphetamine, 5

kilograms or more of cocaine, and 500 grams or more of a mixture and substance containing a

detectable amount of methamphetamine; possession of a firearm and ammunition by an illegal

alien, aiding and abetting; and conspiracy to commit money laundering, aiding and abetting.

                          ii. History and Characteristics

       Defendant was 25 years old when he was sentenced. Prior to the instant offense conduct,

he had previous convictions for public drunk and driving without a license. He had zero criminal

history points, for a criminal history score of I. He completed secondary school in Mexico (the

equivalent of approximately a 9th grade education) and was in a long-term relationship with two



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children from prior relationships. He is currently 40 years old and has a projected release date of

August 23, 2025.

                         iii. Kinds of Sentences Available and Sentencing Range Established

       Defendant pled guilty to Counts One, Five, and Ten. The statutory penalties were for Count

1, 10 years to Life; for Count 5, a maximum of 10 years; and for Count 10, a maximum of 20

years. Based on a total offense level of 40, criminal history category I, the guideline range was

292-365 months. After a downward variance, Defendant was sentenced to 240 months.

                          iv. Need to Avoid Unwarranted Sentencing Disparities

       There were seven co-defendants in this case, who received sentences ranging from time

served to 240 months, with Defendant and one other co-defendant receiving 240-month sentences.

Defendant’s sentence was not an unwarranted disparity considering his role in the conspiracy, in

addition to firearm possession and money laundering counts.

                          v. The need for the sentence imposed to reflect the seriousness of the
                             offense, promote respect for the law, provide just punishment, and
                             adequately deter Defendant and others.

       Defendant has served approximately 177 months of his 240-month sentence, and is due for

release in August 2025. Defendant will likely be released to the custody of Immigration and

Customs Enforcement at the expiration of the instant sentence, as he has an ICE detainer. He has

a minor criminal history prior to incarceration; however, he had a leadership role in the instant

drug conspiracy, possessed a firearm in furtherance of his drug trafficking, and laundered money

to advance the drug distribution. He also received a downward variance at sentencing. To reduce

Defendant’s sentence further would not reflect the seriousness of his offenses, promote respect for

the law or deterrence, or provide just punishment.



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            D. Amendments 782 and 821

         Defendant had zero criminal history points at sentencing, corresponding to a criminal

history category of I. His total offense level was 40, which corresponded to a guideline range of

292-365 months’ imprisonment. He received a downward variance to 240 months.

         The Probation Office has assessed Defendant’s eligibility for a reduction under

Amendment 821 as a zero-point offender. ECF No. 656. In doing so, it incorporated a two-point

reduction in Defendant’s base offense level pursuant to Amendment 782, though acknowledging

the court previously denied a reduction under that amendment in 2015. With a total offense level

of 38, criminal history category I, the applicable guideline range would be 235-293 months.

Defendant’s sentence of 240 months is very near the bottom of that range. Further, the Sentence

Reduction Report (“SRR”) notes Amendment 821, Part B (zero-point offender) does not apply

because Defendant possessed a firearm in connection with the offense and received an aggravating

role adjustment.

         Defendant asks the court to reconsider the denial of a reduction under Amendment 782, for

a reduction in offense level under the “drugs minus two” amendment. In 2015, the court denied a

reduction under Amendment 782 due to Defendant’s disciplinary infraction history within the BOP

and lack of respect for the law causing a danger to public if released at that time. ECF No. 633.

Defendant notes in his instant motion he has worked on his rehabilitation in the time since that

denial, having no disciplinary infractions in that period. The court commends Defendant on his

progress. However, as noted in the SRR at ECF No. 656, even when applying a two-level reduction

in base offense level, Defendant’s total offense level is 38. With a criminal history category of I,

the guideline range would be 235-293 months. Defendant’s 240-month sentence is within that

range.
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          Accordingly, the court finds Defendant does not qualify for a sentence reduction under

Amendment 821, as he does not meet the criteria in USSG § 4C1.1. Defendant’s request to

reconsider a reduction under Amendment 782 is also denied, as Defendant’s current sentence is

within, and near the bottom, of the adjusted guideline range with an offense level reduction of two

levels.

             E. Conclusion

          Based on the above, the court declines to order compassionate release under § 3582(c)

where, as here, Defendant does not meet the requirements of § 1B1.13 and the § 3553(a) factors

weigh against release. Further, reductions pursuant to Amendments 782 and 821 are denied, as is

Defendant’s motion for appointment of counsel. Accordingly, Defendant’s motions for sentence

reductions (ECF Nos. 655, 657) are denied. His motion for ruling (ECF No. 658) is dismissed as

moot.

          IT IS SO ORDERED.

                                                            s/Cameron McGowan Currie
                                                            CAMERON MCGOWAN CURRIE
                                                            Senior United States District Judge
Columbia, South Carolina
June 26, 2024




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